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IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF PENNSYLVANIA

UNITED STATES OF AMERICA
VS. : CRIMINAL NO. 09-567-1
CIVIL NO. 15-4589
DERICK ANTONIO TAYLOR

ORDER

AND NOW, this 30" day of August, 2018, the above-named Defendant having been
examined and testified under oath or has otherwise satisfied the Court that he: (1) is financially
unable to obtain representation by counsel, and (2) does not wish to waive counsel, and because the
interests of justice so require, it is

ORDERED that the Defender Association of Philadelphia, Federal Court Division, is hereby
appointed pursuant to Title 18, § 3006A to represent said defendant in the above matter, said

appointment shall remain in effect until terminated or a substitute attorney is appointed.

OG fr“

 

ay fp cl

Ce: Counsel, Defendant
DATE: 08/30/2018

BY: Deputy Clerk
